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                                                                                                        No. l7-1092C
                                                                                                  (Filed: October 27, 2017)
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JERRY WAYNE MoNEELY.                                                                                                           lcT 2t nfl
                                                                                                                               U.S. COURT OF
                                                              Plaintiff,                                                      FEDERAL CLAIMS




THE LINITED STATES,

                                                              Defendant.                                          *
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                                                                             ORDER DISMISSING COMPLAINT

       Plaintiff, proceeding pro se, has filed this civil action against the United States of
America. To proceed with a civil action in this court, a plaintiff must either pay $400.00 in
fees-a $350.00 filing fee plus a $50.00 administrative fee--or request authorization to proceed
without prepayment offees by submitting a signed application to procced in form pauperis
("IFP"). See 28 U.S.C. S$ 1914, 1915.

         Plaintiff submitted his complaint without the hling fees or a completed IFP application.
Therefore, on september 7,201'r , the undersigned ordered plaintiffto, within thirty (30) days of
the date ofthis order, either pay the $400.00 in required fees or submit a completed IFP
application. Because plaintiff failed to comply with the court's order, this action is hereby
fiI-SlvtISSSn without prejudice for failure to prosecute under Rule 41 of the Rules ofthe United
States Court of Federal Claims.

                    IT IS SO ORDERXD.




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